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      Acronym List
       This table provides a comprehensive list of acronyms used in this document.

                Acronym                                        Description
        BSA                    Business Systems Analyst
        DBA                    Database Business Administrator
        DMV                    Department of Motor Vehicles
        DOB                    Date of Birth
        ELECT                  Department of Elections
        ERIC                   Electronic Registration and Information Center
        ETA                    Estimated Time of Arrival
        GR                     General Registrar
        ISO                    Information Security Officer
        IT                     Information Technology
        LMSOP                  List Maintenance Standard Operating Procedure
        MOU                    Memorandum of Understanding
        NVRA                   National Voter Registration Act
        PPBL                   Post Production Bug List
        SBE-IT                 Email group for ELECT Information Services team
        sFTP                   Secure File Transfer Protocol
        SQL                    Structured Query Language
        SSIS                   SQL Server Integration Services
        SSN                    Social Security Number
        TEMP                   Temporary
        US                     United States
        VERIS                  Virginia Election and Registration Information System
        VITA                   Virginia Information Technology Agency




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      Federal and State Code Citation
       The following federal and state code dictates how the Virginia Department of Elections (ELECT)
       conducts its list maintenance activity:

       •   42 USC §1973gg.
       •   VA CODE §24.2-404.4.
       •   VA CODE §24.2-410.1.
       •   VA CODE §24.2-427 (B1).



      Other References
       The following files and information served as sources for this List Maintenance Standard
       Operating Procedure (LMSOP).
       •   VSO206 DMV Non-Citizen
       •   DMV Non Citizen Procedures Ver3_0._FNL
       •   VS0064, Amendment 24
       •   Business Use –Case Specification: 1.1.36 Process DMV Out of State Notices, Version 1.1
       •   IF-1.1 Technical Interface Specification – DMV – Process DL Surrender File, Version 1.3
       •   IF-1.2 Technical Interface Specification - DMV – Process DL Surrender File, Version 1.4




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  1     Description
          The National Voter Registration Act of 1993 (NVRA), also known as The Motor Voter Act,
          requires state governments to provide the opportunity to register to vote when a person applies
          for or renews their driver’s license, changes the address on their driver’s license, or applies for
          social services. Additionally, Virginia Election Law §24.2 – 410.1 requires the Virginia
          Department of Motor Vehicles (DMV) to include with the voter registration information a
          statement asking the applicant to declare if he or she is a United States (US) citizen. In
          accordance with these federal and state laws, the Department of Elections (ELECT) uses the data
          provided by DMV to perform list maintenance activities.
          ELECT receives two data files from DMV. The files are the:
          •   Monthly Extraction for SBE (DB195) that includes data for the previous month all address
              change records, driver’s license surrender records, and records for anyone registering to
              vote through DMV and indicating to DMV he or she is not a US Citizens.
          •   Full SBE Data Extract for (195) that includes all DMV customer records less any DMV
              customers under the age of 17.

  1.1    Monthly Extract
          Once DMV extracts the monthly data, DMV uploads the dataset to the DMV secure file transfer
          protocol (sFTP) server and notifies both ELECT and the Virginia Election and Registration
          Information System (VERIS) vendor that the data is available. The Elect DBA compares the file
          to the static voter file and loads matching records into each locality’s Non-Citizen hopper.

           The following information was requested from DMV on April 10, 2019
                  Question from Elect: Does DMV perform any validation if the customer enters
                  conflicting information. For example, If the customer enters 'No' on the paper DMV
                  application and 'Yes' on the kiosk to citizenship question, do we get this customer in the
                  monthly file and visa versa?
                  Answer from DMV: DMV does not validate customer answers to determine if they are
                  conflicting. However, a "no" answer submitted in any method will be captured on the
                  monthly file. An imaging software runs daily to ensure we capture any "no" answers
                  that were submitted on paper, and the monthly file also pulls from the EMV data and
                  the data submitted on mail-in applications.
                  Question from Elect: If the customer enters 'No' on both paper and the kiosk, do you
                  only send one record or both?




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                 Answer from DMV: Before the file is sent to you it eliminates the duplicate customer
                 entries. I believe it is the last response date that remains on the file, but I can check on
                 that if you need to know.



  1.2   Full SBE Data Extract
         As with the Monthly Extraction for SBE (DB195), DMV uploads the Full SBE Data Extract for (195)
         dataset to the DMV sFTP server and notifies SBE-IT that the data is available. DMV deletes the
         extract file after 5 days. A structured query language (SQL) job retrieves the Full Extract file and
         prepares it for loading and transformation into VERIS. ELECT uses this data to provide other
         states in the Electronic Registration and Information Center (ERIC) program with Virginia
         registered voter information for comparison to the other state’s records. Refer to the LMSOP
         for Voter and DMV Upload to ERIC for details on that process.




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  1.3   Contacts
         The following table contains contact information for DMV.

                                          Table 1-1: — DMV Contact List


                                           Contact Phone
                Contact Name                                               Contact Email Address
                                              Number
           Penny Lavely                                              Penny.Lavely@dmv.virginia.gov
           David Pierce                                              David.Pierce@dmv.virginia.gov
           Patricia Pringle                                          Patricia.Pringle@dmv.virginia.gov
           David Carrie                                              David.Carrie@dmv.virginia.gov
           David Leahy                                               David.Leahy@dmv.virginia.gov
           Stefan Yssel                                              Stefan.Yssel@dmv.virginia.gov
           Margaret Robinson                                         Margaret.Robinson@dmv.virginia.gov
           Matthew Martin                                            matthew.martin@dmv.virginia.gov




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  1.4   Frequency
         The following table provides frequency information for each of the DMV Extract files.

                                       Table 1-2: — DMV Extracts Frequency


                    Frequency                         Received                        Method

           Monthly Extract                 11th of the month*                Manual
           Full Extract—Monthly            1st of the month*                 Manual
           Daily Non-citizen File          Everyday                          Manual
         * When the actual date is on a weekend DMV makes the extract available on the next business
         day.

  1.5   Security
         ELECT IS maintains the login and password for the DMV Extract and Non-Citizen Excel files in a
         Microsoft OneNote password protected document on a shared drive with limited access to
         reduce chance of compromising the data. The Information Security Officer (ISO) determines
         who has access to the passwords. The ISO, Deputy ISO, and Applications Senior Database
         Architect have access to the passwords. ELECT IS does not currently encrypt the password
         information but may change to an encrypted password keeper application in the future.

  1.6   Memorandum of Understanding
         The Memorandum of Understanding (MOU) between ELECT and DMV details the agreement for
         DMV to provide personal information for individuals with or applying for a Virginia driver’s
         license. More specifically, the purpose of this MOU is to establish the terms and conditions
         under which, pursuant to Code of Virginia §§ 46.2-208(B)(9) and 46.2-208.1, DMV provides
         certain data to ELECT. This MOU also establishes that ELECT requires this data to conduct its
         official duties, and the terms and conditions under which ELECT will receive, use, and protect
         the data provided by DMV.




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               File          Frequency               File Name                          File Location
              Owner
             ELECT           Monthly



             ELECT           Daily




  3.2   Data Element Descriptions
         This table identifies the data elements that make up the Monthly Extraction for the ELECT
         record layout originating from DMV.


         DMV transaction file layout:
         •     7 new Columns in blue were added by DMV to the monthly file for August 2024. They are
               expected in the Daily Non-Citizen file.



                                     Table 3-3: — Monthly Extraction for ELECT Record Layout


                 Data Elements               Format         Max.         Order             File Location
                  (Field Name)                             Length
                                                           (Number of
                                                           Characters)

                                                                                Valid values include:
                                                                                S = Surrender, A = Address
             Record Type                   Text           1                   1
                                                                                Change, N = Non Citizen, P =
                                                                                Paper Application Non-Citizen
                                                                                  Applicants social security
             Social Security Number        Numeric        9                   2
                                                                                  number
             Last Name                     Text           90                  3 Applicants last name
             First Name                    Text           33                  4 Applicants first name
             Middle Name                   Text           31                  5 Applicants middle name
                                                                                Valid values include:
             Date of Birth                 Numeric        7                   6 CYYMMDD,
                                                                                C = 1 = 19, C = 2 = 20




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             Data Elements      Format    Max.         Order            File Location
              (Field Name)               Length
                                         (Number of
                                         Characters)

                                                               Valid values include:
         Gender               Text       1                 7
                                                               M = Male, F = Female
                              Alpha-                           Address1 = mailing address *
         Address1Street                  35                8
                              numeric                          Address2 = residential address *
                              Alpha-                           Address1 = mailing address *
         Address1Street-2                35                9
                              numeric                          Address2 = residential address
                                                               Address1 = mailing address *
         Address1City         Text       22               10
                                                               Address2 = residential address *
         Address1State        Text       2                11 Address1 = mailing address *
                                                             Address2 = residential address *
         Address1Zip          Text       9                12 Address1 = mailing address *
                                                             Address2 = residential address *
         Jurisdiction         Text       4                13 Typically, first letter and last
                                                             three letters of the jurisdiction.
                                                             System will match code to DMV
                                                             provided descriptions from
                                                             lookup table in VERIS.
         Address2Street       Alpha-     35               14 Address2 = residential address *
                              numeric
         Address2Street-2     Alpha-     35               15 Address2 = residential address *
                              numeric
         Address2City         Text       22               16 Address2 = residential address *
         Address2State        Text       2                17 Address2 = residential address *
         Address2Zip          Text       9                18 Address2 = residential address *
         Declaration Date     Numeric                     19 Date DMV applicant declared
                                                             themselves not a US citizen
         Customer Number      Alpha-     12               20 Voter’s unique DMV customer
                              numeric                        number
         LP Code              Alpha-     2                21 Legal Presence Code
                              numeric
         CUST-VERIFICATION-   Alpha-     25               22 Verification number returned
         NO-SAVE              numeric                        from SAVE for the customer
         CUST-UPDT-DTE-SAVE   Text       8                23 Date of the most recent SAVE
                                                             update




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              Data Elements                   Format            Max.           Order                   File Location
               (Field Name)                                    Length
                                                               (Number of
                                                               Characters)

         DOC-DESC1                         Alpha-             3                      24 Document provided to prove
                                           numeric                                      legal presence
         DOC-NO1                           Alpha-             15                     25 Document number from
                                           numeric                                      document used to prove legal
                                                                                        presence
         DOC-DESC2                         Alpha-             3                      24 Document provided to prove
                                           numeric                                      legal presence
         DOC-NO2                           Alpha-             15                     25 Document number from
                                           numeric                                      document used to prove legal
                                                                                        presence
         DOC-DESC3                         Alpha-             3                      24 Document provided to prove
                                           numeric                                      legal presence
         DOC-NO3                           Alpha-             15                     25 Document number from
                                           numeric                                      document used to prove legal
                                                                                        presence


         NAME-SUFFIX                       Alpha-             5                      26 The suffix for an individual's
                                           numeric                                      name
        *DMV provides only one address, it is residential; if multiple addresses, 1st = mailing address, 2nd = residential.


        This table identifies the record layout for VERIS. The asterisk (*) following the field name
        indicates the data comes from the DMV Monthly Extraction for SBE (DB195) file.



                             Table 3-2: — DMV to VERIS Mapping for Non-Citizen Record Layout


              Data Elements                   Format            Max.           Order                   File Location
               (Field Name)                                    Length
                                                               (Number of
                                                               Characters)

         Notifying Agency                  Text               50             1              DMV
         Agency Identifier                 Text               50             2              Unique identifier
         Update Type *                     Text               1              3              N = DMV Non-Citizen



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  4     Process Steps

  4.1    Non-Citizen Process
          For a step-by-step guide to downloading and processing, please refer to
          LMSOP StepbyStep DMV NonCitizen.docx.
          1. The LM Data Analyst initiates the SSIS job                       – PreProcess DMV Non Citizen
             Monthly File
          2. The process executes the file, parsing and validating all records in the same order as
             received to preload into a temporary staging area in an agency non-citizen temporary table.
          3. During preprocessing the following match criteria to our voters list is considered to move
             records to staging
                 SSN + DOB + first three letters of first name + first three letters of last name
          4. Once the process loads the records into the agency non-citizen table, the process:
              a. Executes the Matching to VERIS Voters stored procedure that compares all active and
                 inactive status voter registrations to the records in the non-citizen table using a
                 standard confidence factor algorithm of a 65% or greater match.
              b. At a minimum, one of the following sets of criteria must be the same:
                 i.   Full social security number
                ii.   First and Last name
               iii.   Last name and date of birth
          5. VERIS records potential matches in the Declared Non-Citizen Hopper.
          6. The GR reviews the match to determine if the non-citizen and registered voter identified by
             VERIS is the same person.
          7. The GR updates the record and VERIS takes the corresponding action:

                                       Table 4-1: — GR Decision/Result Matrix


                               GR Update                                    VERIS Action

                Citizenship Confirm                         Removes pending Non-Citizen Affirmation flag
                Cancel Voter                                Cancels the voter and generates a Cancellation
                                                            Notice to the cancelled voter
                Match Rejected                              Deletes the match from the Hopper
                Notify voter                                Generates the Notice of Intent to Cancel and
                                                            provides instructions for proving citizenship



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                        GR Update                          VERIS Action
            Research Needed                 Holds the match in Hopper until GR takes
                                            follow up action




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  4.2   Full DMV Extract Process
         DMV and ELECT perform the following list maintenance steps using the Full DMV Monthly
         Extract. For a step-by-step guide to downloading and processing, please refer to
         LMSOP StepbyStep DMV Full SBE.docx.

         1. The DMV FULL Monthly Pre-Process SSIS Job (               DMV FULL Monthly on
            2 at 10:15 PM) runs AUTOMATICALLY every month on the 2 day at 10:15 pm.
             nd                                                   nd


                     DMV includes all DMV customer records with the exception of records for
                      individuals under the age of 17.


         2. DMV deletes the full extract from the server location after 5 calendar days from the date
            DMV posted it.
         3. The SSIS package performs the following steps:
            a. Retrieves the file from DMV via sFTP and copies to the server

            b.    Truncates the file name to
            c.    Loads the full file into
            d.    Truncates the temporary (TEMP) table
            e.    Loads the following columns into the TEMP table

                  •




             f.   Removes all SSN records
             g.   Removes all duplicate SSN records
             h.   Updates temp table with ID number
             i.   Truncates table
             j.   Loads new records that do not exist in
             k.   Execute SQL task




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